           Case 2:22-cv-00223-Z Document 126 Filed 03/13/23                            Page 1 of 1 PageID 4237
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  __________
                                                     Northern District
                                                              District of
                                                                       of __________
                                                                          Texas


         Alliance for Hippocratic Medicine, et al.                )
                             Plaintiff                            )
                                v.                                )      Case No.   2:22-cv-00223-z
        U.S. Food and Drug Administration, et al.                 )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Objectors News Media Coalition                                                                                      .


Date:          03/13/2023                                                                /s/ Peter B. Steffensen
                                                                                            Attorney’s signature


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